Case: 23-50444             Document: 74-1          Page: 1       Date Filed: 08/26/2024




           United States Court of Appeals
                for the Fifth Circuit
                                    ____________
                                                                                 United States Court of Appeals
                                                                                          Fifth Circuit
                                     No. 23-50444
                                    ____________                                        FILED
                                                                                  August 26, 2024
Robert White,                                                                      Lyle W. Cayce
                                                                                        Clerk
                                                                       Plaintiff—Appellee,

                                            versus

Patriot Erectors, L.L.C.,

                                             Defendant—Appellant.
                    ______________________________

                   Appeal from the United States District Court
                        for the Western District of Texas
                             USDC No. 1:20-CV-1219
                   ______________________________

Before Elrod and Ramirez, Circuit Judges, and Ashe, District Judge. ∗
Per Curiam: †
       Defendant Patriot Erectors, LLC (“Patriot”) appeals the district
court’s denial of its motion for judgment as a matter of law following a jury
verdict in favor of plaintiff Robert White on his claims of racial discrimina-
tion. We AFFIRM.



       _____________________
       ∗
           District Judge of the Eastern District of Louisiana, sitting by designation.
       †
           This opinion is not designated for publication. See 5th Cir. R. 47.5.
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                                  No. 23-50444


                             I. BACKGROUND
       Patriot is a steel fabrication and installation company. Patriot hired
White, a Black male, as a welder in 2010, and by 2013, he had been promoted
to line leader, shift supervisor/shop foreman, and finally production man-
ager/shop supervisor of Patriot’s fabrication shop. In March 2019, Patriot
acquired another steel fabrication company, Trinity Steel Fabricators
(“Trinity”). Shortly after the acquisition, in July 2019, Patriot replaced Eric
Herzog, who had been White’s supervisor throughout his tenure as produc-
tion manager, with a former Trinity employee, Mickey Swor, and moved
Herzog to another position.
       At trial, White testified to two incidents in September 2019 in which
he had learned third hand that employees at Patriot used racial slurs against
him. White reported the second incident to Patriot’s human resources man-
ager, who then informed Swor. Swor and the HR manager confronted the
employee who allegedly heard the second racial slur, but the employee denied
having heard it, and Patriot did not investigate the matter further.
       In mid-October, Swor communicated to Patriot’s CEO, Parley Dixon,
and one of Patriot’s equity owners that he wanted to remove White as pro-
duction manager due to performance concerns. On October 22 or 23, Dixon
met with White and told him that he was being removed as production man-
ager and placed on “paid leave” because of the stress he was under with his
ongoing divorce. At the meeting, Dixon and White discussed other opportu-
nities for him—namely, other positions at Patriot, a position with an affiliated
company in Arkansas, and starting his own business. On October 31, White
filed a certificate of formation for Phynix Fabrication (“Phynix”). He testi-
fied, however, that he was still interested in remaining at Patriot, so he set up
a meeting with Dixon a week or two later to discuss potential positions. Ac-
cording to White, Dixon informed him at this second meeting that there were




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                                 No. 23-50444


actually no available positions at an affiliated company or any positions at Pa-
triot that would pay him his old salary. Patriot promoted a line leader, Justin
Snyder—who identifies as “Hispanic white”—to replace White as produc-
tion manager shortly after his removal.
       White received his base pay with benefits for approximately six to
eight weeks after being told of his removal. Thereafter, White continued set-
ting up Phynix, which opened its doors in January 2020, but the business
struggled during the COVID-19 pandemic. White started a new, more suc-
cessful business, Falcon Roofing, in April 2020.
       Before White’s removal, Patriot had nine Black employees working in
its fabrication shop. By January 2023, Patriot employed only one, and that
employee was not in a management role.
       White filed suit against Patriot alleging claims of racial discrimination
and retaliation under Title VII of the Civil Rights Act of 1964, as amended,
and 42 U.S.C. § 1981. At trial, the parties presented competing testimony
regarding the true reason for White’s removal, and at the close of plaintiff’s
case, Patriot moved for judgment as a matter of law, arguing that there was
insufficient evidence to go to the jury because (1) White left Patriot on his
own, (2) White did not present any evidence of actual damages, and (3)
White did not present any evidence that Patriot discriminated against him or
retaliated against him for reporting the alleged racial slur. The district court
denied the motion without prejudice to re-urging it following jury delibera-
tions. The jury then returned a verdict partially in favor of White and par-
tially in favor of Patriot. It found that White suffered an adverse employment
action from Patriot and that White would not have suffered the action but for
his race, and awarded him $213,930 in wages and employment benefits. The
jury did not award any damages for past or future emotional pain and suffer-
ing, inconvenience, mental anguish, or loss of enjoyment of life. It found that




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Patriot did not retaliate against White for reporting the racial slur. Upon
hearing the verdict, Patriot renewed its motion for judgment as a matter of
law, and the district court ordered briefing on the motion. After reviewing
the evidence presented at trial and the parties’ briefs, the district court issued
an order denying the motion. This appeal followed. 1
                          II. STANDARD OF REVIEW
        Rule 50(a) of the Federal Rules of Civil Procedure permits a party to
move for judgment as a matter of law at trial before the jury renders its ver-
dict. If the pre-verdict motion is denied, the party can renew its motion under
Rule 50(b) following the verdict. Fed. R. Civ. P. 50(b). A Rule 50(b)
motion is required to preserve an argument for appellate review. Downey v.
Strain, 510 F.3d 534, 543 (5th Cir. 2007).
        “We review de novo the district court’s ruling on a motion for judg-
ment as a matter of law, applying the same legal standard as the trial court.”
Wantou v. Wal-Mart Stores Tex., L.L.C., 23 F.4th 422, 431 (5th Cir. 2022)
(citing Flowers v. S. Reg’l Physician Servs. Inc., 247 F.3d 229, 235 (5th Cir.
2001)). A judgment as a matter of law is proper if “a party has been fully
heard on an issue during a jury trial and the court finds that a reasonable jury
would not have a legally sufficient evidentiary basis to find for the party on
that issue.” Fed. R. Civ. P. 50(a). “[W]hen evaluating the sufficiency of
the evidence, we view all evidence and draw all reasonable inferences in the
light most favorable to the verdict.” Bryant v. Compass Grp. USA Inc., 413
        _____________________
        1
          Patriot’s original notice of appeal was premature because it was filed before final
judgment was rendered. After a final judgment was entered, Patriot filed a second, timely
notice of appeal. Because in certain instances a premature notice may be cured by the filing
of a second, timely notice of appeal from the district court’s final judgment, we have
jurisdiction over this appeal. Brown v. Wright Nat’l Flood Ins. Co., 2021 WL 2934730, at *3
n.1 (5th Cir. July 12, 2021) (citing Macklin v. City of New Orleans, 293 F.3d 237, 240 n.1 (5th
Cir. 2002)).




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F.3d 471, 475 (5th Cir. 2005). However, “credibility determinations, the
weighing of evidence, and the drawing of legitimate inferences from the
facts” remain within the province of the jury. Kelso v. Butler, 899 F.3d 420,
425 (5th Cir. 2018) (quotation omitted).
       “Although our review is de novo, we recognize that ‘our standard of
review with respect to a jury verdict is especially deferential.’” Wantou, 23
F.4th at 431 (quoting Flowers, 247 F.3d at 235). “[A] Rule 50 motion must
be denied ‘unless the facts and inferences point so strongly and overwhelm-
ingly in the movant’s favor that reasonable jurors could not reach a contrary
conclusion.’” Id. (quoting Flowers, 247 F.3d at 235). “We reverse the denial
of a Rule 50 motion only if the jury’s factual findings are unsupported by sub-
stantial evidence or ‘the legal conclusions implied from the jury’s verdict
cannot in law be supported by those findings.’” Id. (quoting Williams v. Man-
itowoc Cranes, L.L.C., 898 F.3d 607, 614 (5th Cir. 2018)).
                            III. DISCUSSION
       Patriot contends that the district court erred in denying its motion for
judgment as a matter of law on White’s discrimination claims because there
was insufficient evidence for a reasonable jury to find that White suffered an
adverse employment action because of his race. Employing the McDonnell-
Douglas framework, Patriot argues that the district court should have entered
judgment in its favor because (1) White cannot establish a prima facie case of
discrimination, (2) White did not produce evidence of intentional discrimi-
nation, and (3) White did not prove that Patriot’s asserted nondiscriminatory
reasons for removing him were pretextual.
   A. White’s Prima Facie Case of Discrimination
       When a plaintiff’s discrimination claim relies entirely on circumstan-
tial evidence, it is subject to the burden-shifting framework outlined in
McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).            Under that




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framework, the initial burden rests with the plaintiff to establish a prima facie
case by showing that he “(1) belongs to a protected group, (2) was qualified
for the position, (3) suffered an adverse employment action, and (4) either (i)
was replaced by someone outside of the protected group, or (ii) was treated
less favorably than a similarly situated employee (disparate treatment).”
Walker v. Smith, 801 F. App’x 265, 269 (5th Cir. 2020) (citing, inter alia,
Haire v. Bd. of Supervisors of La. State Univ. Agric. &amp; Mech. Coll., 719 F.3d 356,
363 (5th Cir. 2013)). If a plaintiff establishes a prima facie case of discrimina-
tion, the burden then shifts to the defendant employer to articulate a legiti-
mate, nondiscriminatory reason for its actions. Raggs v. Miss. Power &amp; Light
Co., 278 F.3d 463, 468 (5th Cir. 2002). Lastly, the burden shifts back to the
plaintiff to establish that the employer’s asserted reason is pretextual. Id.       Patriot first argues that White cannot establish a prima facie case of
discrimination because he did not suffer an adverse employment action. Ac-
cording to Patriot, White was not terminated but rather chose to leave Patriot
and start his own business. However, White presented countervailing evi-
dence at trial, including, for example, that the alternative employment oppor-
tunities Patriot alluded to were not actually available, and the jury specifically
found that White did indeed suffer an adverse employment action. “To ac-
cept [Patriot’s] view of the evidence and reject the jury’s, we would neces-
sarily wade into making credibility determinations, weighing the evidence,
and drawing inferences. This we cannot do.” See Harris v. FedEx Corp.
Servs., Inc., 92 F.4th 286, 298 (5th Cir. 2024), petition for cert. filed, No. 23-
1314 (U.S. June 17, 2024).
       Patriot also argues that White was not replaced by someone outside of
his protected class, contending that “White is [a] mixed race person (white
and black) and so is Justin S[ny]der.” The fact that Snyder is one-quarter
Hispanic and plaintiff White is one-half Black does not definitively put them
within the same protected class for purposes of assessing a prima facie case of



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                                 No. 23-50444


discrimination. See, e.g., Williams v. Wackenhut Corp., 2013 WL 4017137, at
*5 n.3 (S.D. Tex. Aug. 6, 2013) (citing Dang v. Inn at Foggy Bottom, 85 F.
Supp. 2d 39, 46 (D.D.C. 2000); Dancy v. Am. Red Cross, 972 F. Supp. 1, 3–4
(D.D.C. 1997) (prima facie case established where Black employee was re-
placed by Hispanic employee); and Dalton v. Avis Rent A Car Sys., Inc., 336
F. Supp. 2d 534, 538 (M.D.N.C. 2004), aff’d, 131 F. App’x 936 (4th Cir.
2005)); see also Nieto v. L&amp;H Packing Co., 108 F.3d 621, 624 n.7 (5th Cir.
1997) (“‘[T]he single fact that a plaintiff is replaced by someone within the
protected class does not negate the possibility that the discharge was moti-
vated by discriminatory reasons.’” (alteration omitted) (quoting Hornsby v.
Conoco, Inc., 777 F.2d 243, 246–47 (5th Cir. 1985))). Nonetheless, the jury
was presented with evidence and argument on this point and acted reasona-
bly to reject the same by completing the verdict form as it did.
       Regardless, although Patriot argues at length that White failed to es-
tablish a prima facie case of discrimination, the McDonnell-Douglas framework
is not technically applicable at this stage. “[W]hen, as here, a case has been
fully tried on its merits, we do not focus on the McDonnell Douglas burden-
shifting scheme. Instead, we inquire whether the record contains sufficient
evidence to support the jury’s ultimate findings.” Smith v. Berry Co., 165
F.3d 390, 394 (5th Cir. 1999) (internal citation omitted); see also Harris, 92
F.4th at 297 (“‘Post-trial, the McDonnell Douglas framework becomes
moot.’” (alterations omitted) (quoting Adams v. Groesbeck Indep. Sch. Dist.,
475 F.3d 688, 691 (5th Cir. 2007))). In other words, “we need not parse the
evidence into discrete segments corresponding to a prima facie case, an ar-
ticulation of a legitimate, nondiscriminatory reason for the employer’s deci-
sion, and a showing of pretext. ‘When a case has been fully tried on the mer-
its, the adequacy of a party’s showing at any particular stage of the McDonnell
Douglas ritual is unimportant.’” Travis v. Bd. of Regents of Univ. of Tex. Sys.,




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122 F.3d 259, 263 (5th Cir. 1997) (quoting Molnar v. Ebasco Constructors, Inc.,
986 F.2d 115, 118 (5th Cir. 1993)).
    B. Intentional Discrimination
       Patriot also argues that White failed to provide any evidence of “dis-
criminatory intent or motive,” as White did not accuse his supervisors of
making any “racially charged” comments and White did not present evi-
dence of a similarly situated person who was treated differently (i.e., a com-
parator). But a showing of discrimination is not limited to this kind of evi-
dence. As White argues, a “plaintiff may attempt to establish that he was the
victim of intentional discrimination ‘by showing that the employer’s prof-
fered explanation is unworthy of credence.’” Reeves v. Sanderson Plumbing
Prods., Inc., 530 U.S. 133, 143 (2000) (quoting Texas Dep’t of Cmty. Affairs v.
Burdine, 450 U.S. 248, 256 (1981)). In other words, “a plaintiff’s prima facie
case, combined with sufficient evidence to find that the employer’s asserted
justification is false, may permit the trier of fact to conclude that the employer
unlawfully discriminated.” Reeves, 530 U.S. at 148. “[O]nce the employer’s
justification has been eliminated, discrimination may well be the most likely
alternative explanation, especially since the employer is in the best position
to put forth the actual reason for its decision.” Id. at 147. A trier of fact may
infer discrimination from the falsity of the employer’s explanation when the
circumstantial evidence of falsity is of “sufficient ‘nature, extent, and qual-
ity’ to permit a jury to reasonably infer discrimination.” Owens v. Circassia
Pharms., Inc., 33 F.4th 814, 826 &amp; n.7 (5th Cir. 2022) (quoting Crawford v.
Formosa Plastics Corp., La., 234 F.3d 899, 903 (5th Cir. 2000)).
       As discussed in more detail below, because the evidence that White
presented refuting Patriot’s proffered nondiscriminatory reasons for termi-
nating him was of sufficient quality to permit an inference of discrimination,
no further showing of animus was required by White. The jury could infer




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discrimination from the false reasons themselves. Therefore, the actual issue
is whether the record contains sufficient evidence for a reasonable jury to
conclude that Patriot’s stated reasons for terminating White were pretextual.
See Harris, 92 F.4th at 297; Bryant, 413 F.3d at 476.
   C. Pretext
       Patriot last argues that White did not present sufficient evidence to
prove that its nondiscriminatory reasons for terminating him were pretextual.
       At trial, Patriot attempted to establish that White was terminated for
legitimate business decisions related to a company reorganization (viz., the
absorption of Trinity), performance concerns noted by his supervisor, Swor,
and/or personal issues identified by Patriot’s CEO, Dixon. Swor testified
that he decided to remove White because he was not “buy[ing]-in” to the
new Tekla software being implemented at the shop, and, under White’s
watch, work was being duplicated, pieces were being cut improperly and had
to be refabricated, product was being shipped lacking their proper portions,
inventory was not being tracked, and employees were “job-scared.” 2 Swor
testified that the “last straw” for him was when he discovered that a project
being sub-fabricated by another company, Kennedy Fabricators (“Ken-
nedy”), was also being fabricated by Patriot under White’s supervision.
Dixon testified that White was removed as production manager and placed
on paid leave because White “was in a situation of duress” due to his ongoing
divorce.
       White presented countervailing evidence to refute Patriot’s proffered
reasons for terminating him. He adduced testimony that the duplication
Swor referred to as the “last straw” before removing White may have

       _____________________
       2
           That is, made to fear they were at risk of losing their jobs.




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actually been caused by Swor himself. A former Patriot employee, Katelyn
Reveal, testified that Swor (who had only recently come over from Trinity)
had requested the sub-fabrication by Kennedy and did not use the typical pro-
cedure for making the request, and Swor himself testified that he did not look
into the cause of the duplication. Regarding mis-cut items, White testified
that mis-cuts were “few and far between,” and Reveal testified that mis-cut-
ting occurred “every now and then” under White’s supervision but that it
continued under Snyder’s supervision as well. White admitted that ship-
ments sometimes lacked their proper portions but explained that this was out
of his control because he “was not a direct supervisor over shipping and re-
ceiving.” In addition, Reveal and Maryann Ezell, a former Patriot employee
and then-girlfriend of White, testified that White did not fail to track inven-
tory and did not manage people by fear. Another former Patriot employee,
Candelario Davila, testified that he never heard White threaten anyone or
their job. Both White and Ezell also testified that Patriot did not provide
training on the new Tekla software. White testified, and Swor admitted, that
Swor never warned White or counseled him on any of these alleged perfor-
mance deficiencies before his removal, notwithstanding Patriot’s progressive
discipline policy and Swor’s own counseling practices. In fact, White re-
ceived a total of $52,321.55 in performance bonuses in his last eight months
with Patriot, $11,000 of which he received on October 2, 2019, just weeks
before his termination.
         Regarding his purported “personal issues,” White testified that he
did not feel that he was under duress around the time of his removal since his
divorce “was pretty much finalized,” and that the first time Dixon ever ex-
pressed concern over White’s personal life was at the time he was termi-
nated.
         Reviewing the evidence in the light most favorable to the verdict, we
conclude there is sufficient (even ample) evidence to support the jury’s



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verdict. See Ellerbrook v. City of Lubbock, 465 F. App’x 324, 331 (5th Cir.
2012) (“Under the applicable standard of review, the court ‘must disregard
all evidence favorable to the moving party [i.e., the party bringing the re-
newed motion for judgment as a matter of law] that the jury is not required
to believe.’”) (quoting Reeves, 530 U.S. at 151). Specifically, sufficient evi-
dence was presented that could lead a reasonable jury to conclude that Pa-
triot’s reasons for terminating White were pretextual. Then, because White
was able to refute or eliminate Patriot’s professed justification for removing
him, the jury could reasonably infer discrimination. See Reeves, 530 U.S. at
143–49.
       Even so, White presented additional evidence of discrimination for
the jury to consider. White showed that his replacement Snyder (who was
not Black) was less qualified for the job, having only supervised crews of 2 to
15 people as opposed to the fabrication shop’s roughly 120 employees under
White’s supervision at the time, and that several of the supposedly qualifying
“experiences” Swor noted Snyder as having had were not directly relevant
to the production manager role. White also testified to the decrease in Black
employees at Patriot’s fabrication shop following his termination—from nine
in October 2019 to one in January 2023. This evidence, combined with the
testimony refuting Patriot’s proffered reasons for White’s removal, could
lead a reasonable jury to conclude that race was the but-for cause of White’s
removal.
                            IV. CONCLUSION
       The judgment against Patriot and in favor of White is therefore
AFFIRMED.




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